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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
  Plaintiff,                                      §
                                                  §                     CRIMINAL ACTION NO:
v.                                                §                             3:19-CR-630-B
                                                  §
FRANCISCO JAVIER FRANCO-                          §
PERALTA (01),                                     §
STEVEN DEAN ANTHONY (02)                          §
SHARRON RENE ARNOLD (03),                         §
JUSTIN DUANE BAKER (04),                          §
CHRISTOPHER BOISSE (05),                          §
JUAN CARLOS BONILLA (06),                         §
DONALD PAUL BREWER (07),                          §
TAMMY LOUISE CRAWFORD (08),                       §
STEWART ALBERT ELIZARDO (10),                     §
FELIX GUILLEN (12),                               §
ALLEC SHANIA HAMM (13),                           §
JOSEPH FLOYD MITCHELL (18),                       §
ANGELINA LUNA PERALTA (19),                       §
AMIE DAWN SANMIGUEL (21),                         §
JAMES KEITH SMITH (23),                           §
RIKKI LEE THOMPSON (24),                          §
ANTONIO VALLE (25),                               §
  Defendants.                                     §


                                AMENDED PRETRIAL ORDER

        The Court finds that in the interest of justice, this case shall be tried together with all co-

defendants, pursuant to 18 U.S.C. § 3161(h)(6), and therefore, the reasonable period of delay

resulting from resetting the deadlines and hearings in this case based on the appearance of the

newly-apprehended defendants shall be excluded in computing the time within which the trial of

this cause must commence under 18 U.S.C. § 3161 as to defendant Francisco Javier Franco-

Peralta. Accordingly, the pretrial deadlines and hearings in this case are reset as follows:



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       1.      This case is set for trial on May 4, 2020 at 9:00 AM. Counsel and the parties

shall be ready for trial on that date. Any potential scheduling conflicts must be called to the

attention of the Court in writing within ten (10) days of the date of this order.

       2.      The parties shall comply with FED. R. CRIM. P. 16.1(a) within 14 days of the

arraignment and request court action, pursuant to FED. R. CRIM. P. 16.1(b), if necessary, after the

discovery conference.

       3.      By March 9, 2020, the government shall, in accordance with Brady v. Maryland,

373 U.S. 83 (1963), provide the defendant with all of the exculpatory evidence it possesses

concerning the defendant.

       4.      The government shall provide the defendant with all Jencks Act material (18

U.S.C. § 3500) on the day prior to the testimony of the witness to whom such material relates.

       5.      By March 26, 2020, all pretrial motions shall be filed, and they must comply with

Local Criminal Rule 47.1. See N.D. TexCrim. R 47.1. Discovery motions and motions for a bill

of particulars will be denied in their entirety unless they are limited to the specific matters

actually in dispute, after conference with opposing counsel, as required by Local Criminal Rule

47.1(a).

       6.      By April 9, 2020, the government’s response to the pretrial motions shall be

filed, and any reply by the defendant shall be filed by April 16, 2020.

       7.      By April 20, 2020, all pretrial materials shall be filed. Specifically, by this date:

                      a. A list of witnesses shall be filed by each party, which:
               divides the persons listed into groups of “probable witnesses,”
               “possible witnesses,” “experts” and “record custodians;” states
               the name and address of each witness; and contains a brief
               narrative summary of the testimony to be covered by each witness.
               (Modification of Local Criminal Rule 16.1(b)).

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                        b. A list of exhibits to be offered at trial shall be filed by
                 each party. In addition, each party shall number the listed
                 exhibits with gummed labels (which the parties must provide
                 themselves); shall exchange a complete set of marked exhibits
                 with opposing counsel; and shall deliver to the Court’s chambers
                 one hard copy and one digital copy of the marked exhibits
                 (except large or voluminous items that cannot be easily
                 reproduced). (Modification of Local Criminal Rule 16.1(a)).

                         c. On the day the case is set for trial, additional copies of
                 the list of witnesses and list of exhibits (as required by Local
                 Criminal Rules 16.1(a) and (b)) shall be delivered to the court
                 reporter by each party.

                         d. Requested jury instructions (annotated), 1 any motions
                 in limine (which must be limited to matters actually in dispute),
                 and any proposed voir dire questions which the Court is
                 requested to ask during its examination of the jury panel shall be
                 filed by each party. (Modification of Local Criminal Rule 30.1).

                         e. A written statement covering these matters shall be filed
                 by each party: (i) the estimated length of trial; (ii) the status of any
                 plea bargaining negotiations; (iii) any scheduling problems which
                 the attorneys, parties or witnesses have during the trial docket; and
                 (iv) any additional matters which would aid the disposition of this
                 case.

                         f. Trial briefs, if any, shall be filed. In the absence of a
                 specific order, trial briefs are not required but are welcomed. They
                 should concentrate on Fifth Circuit and Supreme Court authority
                 on the issues the parties anticipate will arise at trial.

NOTE: Deadlines set in this order are dates for filing or delivery of pretrial materials, not

mailing dates.

1  “Annotated” means that each proposed instruction shall be accompanied by citation to statutory or
case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without
citation to supporting authority. Because Fifth Circuit and Supreme Court cases are the only precedent
binding on this court, the parties should – to the extent possible – rely on these sources (and/or Fifth
Circuit pattern instructions) in proposing jury instructions.


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       8. A final pretrial conference in this case is set for May 1, 2020 at 10:00 AM. All

pretrial motions not previously decided will be resolved at that time, and procedures for trial will

be discussed. The defendant shall be present.


       9. SANCTIONS will be imposed if these pretrial requirements are not met. If the

government does not timely file the pretrial materials, the case will be dismissed. Any defendant

who does not timely file the required pretrial materials will not be permitted to present witnesses

or exhibits at trial. Failure to list a witness or an exhibit shall be grounds for exclusion of that

testimony or exhibit. This does not apply to exhibits or testimony offered for impeachment, and

the use of unlisted exhibits or witnesses for rebuttal shall be permitted if the attorneys could not

have reasonably anticipated their need for that evidence.


       10. In multi-defendant cases, any motions to continue the pretrial deadlines and/or trial

setting must include a certificate of conference with the government and the attorneys for all co-

defendants with whom the moving defendant is set for trial.


       11. Questions about this scheduling order or about any other matters related to this case

should be directed to Judge Boyle’s courtroom deputy by calling (214) 753-2740 and then

pressing the option for “criminal cases.” If, the phone goes to voice-mail, please leave a message

that includes the case name and number, as well as your name and number and that of opposing

counsel.   Alternatively,    you    can    e-mail    the    Court    regarding    your    case    at

Boyle_Criminal@txnd.uscourts.gov. If you choose to e-mail the Court, include the case name

and number, as well as your name and number. You must copy opposing counsel on your e-mail to

the Court. If you do not copy opposing counsel, you will not receive a response to your e-mail.



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SO ORDERED.

Signed this February 28, 2020.




                                   JANE J. BOYLE
                                   UNITED STATES DISTRICT JUDGE




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